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      ORDERED in the Southern District of Florida on June 10, 2018.




                                                                Laurel M. Isicoff
                                                                Chief United States Bankruptcy Judge




_____________________________________________________________________________
                                      UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF FLORIDA

       In re:                                                       Case No. 18-15891-BKC-LMI

       MAURICE SYMONETTE,                                           Chapter 7

                  Debtor.
       ________________________________/

        ORDER DENYING EMERGENCY MOTION FOR VIOLATION OF BANKRUPTCY

                This matter came before the Court on June 6, 2018 upon the Emergency Motion for

      Violation of Bankruptcy (ECF #9) filed by Debtor. The Court has reviewed the Motion, the

      record, and all relevant matters. It is

                ORDERED AS FOLLOWS:

                1.       The Emergency Motion for Violation of Bankruptcy is denied without prejudice

      for the reasons stated on the record.

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      Copies furnished to:
      Maurice Symonette, pro se Debtor

                The Clerk of Court shall serve a copy of this order upon all parties in interest.
